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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF OKLAHOMA


KATHLEEN CARR; KEEGAN                       No. CIV-23-99-R
KILLORY; and KELSIE POWELL
individually, and on behalf of all
similarly situated persons,

             Plaintiffs,

             v.

OKLAHOMA STUDENT LOAN
AUTHORITY; and NELNET SERVICING,
LLC,

             Defendants.


   MOTION TO INTERVENE AND STAY PENDING FINAL APPROVAL OF
   SETTLEMENT IN RELATED CLASS ACTION AND MEMORANDUM IN
                          SUPPORT
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                                   INTRODUCTION

       Court-appointed lead plaintiffs in the consolidated action In re Nelnet Servicing,

LLC, 2023 WL 1108253, at *8 (D. Neb. Jan. 30, 2023) (“Movants”), by and through Court-

appointed lead counsel, move to intervene in this later-filed case to request a stay pending

approval of a Settlement that would fully resolve the claims asserted in this case. As

explained herein, Movants meet the requirements for intervention as a matter of right and,

in the alternative, permissive intervention, pursuant to Rules 24(a)(2) and 24(b)(1)(B) of

the Federal Rules of Civil Procedure.

       Movants negotiated the Settlement over several months with each of the entities

involved in the 2022 Data Breach that gave rise to the consolidated action, as well as this

action: Nelnet Servicing, LLC (“Nelnet”), EdFinancial Services, LLC (“EdFinancial”), and

the Oklahoma Student Loan Authority (“OSLA”). If approved, this global settlement

would fully resolve the claims asserted against each entity in all twenty-four pending class

actions arising from the same data breach. Accordingly, this action (the “Carr action”)—

which is the only parallel action in the country not consolidated with In re Nelnet—should

be stayed to preserve judicial and party resources while the settlement approval process

takes place.1


1
  The Class asserted in the consolidated action fully subsumes the Carr plaintiffs’ claims,
which are limited to the subset of Nelnet customers who received loans through OSLA.
See In re Nelnet, Consolidated Amended Class Action Complaint, ECF No. 51 ¶ 353,
attached as Exhibit 1 to the June 12, 2024 Declaration of Christian Levis (“Levis Decl.”)
(defining putative class as “All Persons in the United States whose personal information
was compromised in the Data Breach made public by Nelnet Servicing, LLC in August
2022.”), compare with Carr action, First Amended Class Action Complaint ECF No. 22 ¶
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       Movants also respectfully request that this Court issue a stay of all proceedings and

deadlines in this case pending a final order approving or disapproving the Settlement.

Courts routinely exercise their power to grant stays when a pending nationwide settlement

would impact (or resolve) the claims in the case before them to avoid unnecessary

litigation, inconsistent results, and other issues. Staying these proceedings will present no

fair possibility of damage to any party; to the contrary, a stay will allow all class members

to participate in the Settlement or, if they wish, to exercise their right to opt out. For these

and other reasons explained in the accompanying memorandum, this action should be

stayed.

                                      BACKGROUND

       In June and July 2022, a Data Breach affected over 2.5 million Nelnet student loan

borrowers.2 Following the data breach, twenty-four cases were filed against Nelnet,

EdFinancial, and/or OSLA across various jurisdictions around the country.

       On September 15, 2022, Movants filed an MDL application with the Judicial Panel

on Multidistrict Litigation (“JPML”) seeking to centralize all actions arising out of the

alleged Data Breach in the U.S. District Court for the District of Nebraska, where Nelnet

is headquartered. See In re Nelnet, 2023 WL 1108253, at *1.


172 (defining putative class as “[a]ll Persons residing in the United States who received a
Notice Letter from OSLA and had their PII compromised by an unknown third-party
cybercriminal as a result of the Data Breach that occurred in or around June 2022 through
July 2022.”) (emphasis added).
2
  See, e.g., Information About a Recent Data Security Incident Impacting Certain Federal
Loan Servicing Clients, NELNET, https://nelnetinc.com/july-2022-data-security-incident/
(last visited May 23, 2024).
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       On December 1, 2022, counsel for the Carr plaintiffs, Federman & Sherwood

(“F&S”), appeared before the JPML to argue in support of proceeding in Nebraska but

against the creation of an MDL given the parties’ collective willingness to cooperate and

coordinate:

       MR. FEDERMAN: Thank you, your Honors. William B. Federman,
       Federman & Sherwood, on behalf of plaintiff Jennifer Hegarty. There’s no
       need for an MDL here. All the cases can go to Nebraska. They were all
       filed there. Tennessee doesn’t want to go to Nebraska. They could be stayed
       in Tennessee. The plaintiffs’ counsel spent a lot of time self-organizing. The
       court should encourage that rather than running to the MDL. If Nebraska
       does not want the case, the Western District of Oklahoma
       does . . . . Oklahoma will get implicated in the case through the Oklahoma
       Student Loan Authority, the venue issues bringing the case in Nebraska. If
       you don’t want to send it to Nebraska, send it to Oklahoma.

Dec. 1, 2022 JPML Hearing Oral Argument Tr. at 9:4-25 (emphasis added), ECF No. 61,

attached as Exhibit 2 to the Levis. Decl.

       The JPML denied Movants’ transfer motion, finding that centralization under

Section 1407 was unnecessary because the parties could voluntarily organize all cases in a

single forum (i.e., Nebraska) using Section 1404. See In re Nelnet Servicing, LLC,

Customer Data Sec. Breach Litig., MDL No. 3053, 2022 WL 17843103, at *1 (J.P.M.L.

Dec. 13, 2022). Following this order, all federal cases then pending against Nelnet were

subsequently voluntarily transferred to the District of Nebraska, where they were then

consolidated on January 30, 2023. See In re Nelnet, 2023 WL 1108253, at *8. The Nebraska

Court also appointed Movants’ counsel as interim class counsel over the consolidated

action, rejecting two other competing slates, including one supported by Carr plaintiffs’

counsel. Id. Thus, by the end of January 2023, 23 of the 24 actions arising out of the data


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breach were consolidated under a single leadership structure in Nebraska. The one outlier

was the Carr plaintiffs’ action in Oklahoma state court, which was removed to this Court

the same day the Nebraska Court issued its order. See Carr v. OSLA, et al., Case No. CJ-

2023-2 (Oklahoma County District Court), ECF No. 1-1.

       Initiated on January 3, 2023—more than two weeks after the JPML’s ruling on

Movants’ transfer motion—this state court case sought to pursue claims against Nelnet and

OSLA arising out of the same Data Breach covered by the actions consolidated in the

District of Nebraska. Indeed, the Carr case alleged nearly identical claims to two actions

in Nebraska that the Carr plaintiffs’ counsel filed more than three months earlier. See

Hegarty v. Nelnet Servicing, LLC, No. 4:22-cv-03186 (D. Neb. Sept. 2, 2022), and Sayers

v. Nelnet Servicing, LLC, No. 4:22-cv-03203 (D. Neb. Sept. 14, 2022), Attached as Exhibits

3-4 to the Levis Decl. However, because Section 1404 could not be used to transfer a state

court action, Nelnet first removed the Carr action to the Western District of Oklahoma (see

ECF No. 1) on January 30, 2023, before moving to transfer the action to Nebraska (where

the 23 other actions filed were already consolidated) or, alternatively, stay it pending the

outcome of the Nebraska action. ECF No. 27. Despite Mr. Federman’s prior representations

that “All the cases can go to Nebraska,” and representation of plaintiffs in two cases

pending in that District, the Carr plaintiffs opposed transfer. ECF No. 32. This Court

ultimately denied both of Nelnet’s requests on June 16, 2023, noting that, at the time,

“Nelnet ha[d] not set forth its own clear case of the hardship or inequity it faces should this

case proceed.” ECF No. 41.



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       Meanwhile, Movants proceeded to litigate their claims, opposing Nelnet’s motion

to dismiss and EdFinancial’s’ attempts to stay the litigation. See In re Nelnet, ECF Nos. 73

66, attached as Exhibits 5-6 to the Levis Decl. After nearly a year of litigation, Movants

and Nelnet, OSLA, and EdFinancial began exploring the potential for resolution. Working

with the Honorable Jay C. Gandhi, U.S.M.J. (Ret.), they engaged in two hard-fought

mediation sessions in December 2023 and January 2024. The second mediation session

concluded with a tentative agreement among the parties as to certain terms of settlement,

but with material issues that remained unresolved. Movants notified the Nebraska court of

these developments on January 29, 2024, by email and requested a stay while they

continued their discussions. The parties’ continued discussions resulted in the execution of

a binding settlement term sheet on June 11, 2024, that resolves the claims asserted by the

following class:

              All Persons in the United States whose personal information was
              compromised in the data breach made public by Nelnet Servicing,
              LLC in August 2022 (the “Data Beach”).

       This class definition fully subsumes the proposed class, and claims asserted, in this

action as the Carr plaintiffs and all proposed class members had their information disclosed

in the same Data Breach.3 As stated in the Notice of Settlement Defendant OSLA filed on

June 11, 2024, the Settling Parties anticipate moving for preliminary approval of that

settlement within 45 days. See ECF No. 105.


3
  See Carr action, ECF No. 22 ¶ 172 (defining putative class as “[a]ll Persons residing in
the United States who received a Notice Letter from OSLA and had their PII compromised
by an unknown third-party cybercriminal as a result of the Data Breach that occurred in or
around June 2022 through July 2022.”).
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       The need for a stay in the Carr action is now clear, particularly considering the

Settlement’s resolution of all claims asserted in the Carr action, and the Carr plaintiffs’

prior attempts to derail the settlement efforts in the consolidated (and first-filed) Nebraska

action. Specifically, after learning of the parties’ ongoing discussion from OSLA,4 the Carr

plaintiffs moved to intervene in the Nebraska action on March 12, 2024, based on purported

concerns that Movants and their counsel were engaged in a “reverse auction” that

improperly resolved the class’s claims. See In re Nelnet, ECF Nos. 83-84, attached as

Exhibits 7-8 to Levis Decl. Moreover, the Carr plaintiffs—despite being part of a tag-along

case purporting to represent a class encompassing less than 10% of the individuals whose

data was compromised by the same Data Breach—further requested the Nebraska Court

stay the consolidated action or, alternatively, displace court-appointed interim class

counsel in favor of appointing Carr plaintiffs’ counsel to lead the consolidated case. See

In re Nelnet, ECF No. 84, Ex. 8 to Levis Decl.

       While the Carr plaintiffs are likely to make similar arguments here, their hyperbolic

claims against Movants and their counsel are unfounded. Movants have—at all times—

sought to incorporate the Carr plaintiffs (and their counsel) in the consolidated case. See

In re Nelnet, ECF No. 92-2 (April 4, 2024 Levis Declaration), attached as Exhibit 12 to

Levis Decl. For example, following the JPML’s denial of Movants’ transfer motion,



4
 While Movants were not involved in these discussions, they understand that OSLA’s
counsel informed Carr plaintiffs’ counsel on or around March 1, 2024, that Movants had
been pursuing a potential global resolution of the claims arising from the 2022 Data Breach
with Nelnet, OSLA, and EdFinancial. See In re Nelnet, ECF No. 84 at 4, Ex. 8 to Levis
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Movants conferred with the Carr plaintiffs to request that they transfer their action to

Nebraska, consistent with their counsel’s representations at the JPML hearing. Id. The Carr

plaintiffs refused to do so unless they were guaranteed a fixed percentage of any attorneys’

fees, despite their proposed class representing only a modest subset (9.97%) of all Class

members. Id. When the Carr plaintiffs later raised concerns that they were being excluded

from potential settlement discussions, Movants then sought to work together on a “global

resolution” of both the Nebraska and Carr actions as equal participants. Id. The Carr

plaintiffs rejected these requests, instead demanding their counsel receive a

disproportionate amount of any fees awarded, despite accounting for a significantly smaller

percentage of the Class and playing no role in the twenty-three other pending cases. Levis

Decl. at ¶ 14, filed herewith. Movants did not accept this proposal and the two cases

continued separately. Id.

       Having now reached a settlement with Nelnet, OSLA, and EdFinancial that resolves

the later-filed Carr plaintiffs ’claims, Movants request that this action be stayed in its

entirety pending final approval of that settlement.

                                       ARGUMENT

I.     MOVANTS ARE ENTITLED TO INTERVENE UNDER FED. R. CIV. P.
       24(a)(2).

       Intervention as of right is authorized by Federal Rule of Civil Procedure 24(a)(2),

which provides, in pertinent part, that:

       On timely motion, the court must permit anyone to intervene who . . . claims
       an interest relating to the property or transaction that is the subject of the
       action, and is so situated that disposing of the action may as a practical matter


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       impair or impede the movant’s ability to protect its interest, unless existing
       parties adequately represent that interest.

Fed. R. Civ. P. 24(a)(2). The Tenth Circuit has summarized the requirements for

intervention as of right under Rule 24 as follows: (1) the application is timely; (2) the

applicant claims an interest relating to the property or transaction which is the subject of

the action; (3) the applicant’s interest may, as a practical matter, be impaired or impeded,

and (4) the applicant’s interest is not adequately represented by the existing parties. See

Utah Ass’n of Ctys. v. Clinton, 255 F.3d 1246, 1249 (10th Cir. 2001) (quoting Coalition of

Arizona/New Mexico Counties v. Dep’t of Interior, 100 F.3d 837, 840 (10th Cir. 1996)).

The Tenth Circuit has “historically taken a liberal approach to intervention and thus favors

the granting of motions to intervene.” In re Samsung Top-Load Washing Mach. Mktg., Sales

Pracs. & Prod. Liab. Litig., No. 17-ML-2792-D, 2018 WL 3676971, *2 (W.D. Okla. Aug.

2, 2018) (internal citations and quotations omitted).

       A.     Movants’ Request Is Timely.

       In the Tenth Circuit, “[t]he timeliness of a motion to intervene is assessed ‘in light

of all the circumstances, including the length of time since the applicant knew of his interest

in the case, prejudice to the existing parties, prejudice to the applicant, and the existence of

any unusual circumstances.’” Utah Ass’n of Counties, 255 F.3d at 1250 (quoting Sanguine,

Ltd. v. U.S. Dep’t of Interior, 736 F.2d 1416, 1418 (10th Cir. 1984)). “The analysis is

contextual; absolute measures of timeliness should be ignored.” Id. (quoting Sierra Club v.

Espy, 18 F.3d 1202, 1205 (5th Cir. 1994). See also Stupak-Thrall v. Glickman, 226 F.3d

467, 475 (6th Cir. 2000) (absolute measure of time between filing of the complaint and the


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motion to intervene is one of the least important circumstances). Moreover, “[t]he

requirement of timeliness is not a tool of retribution to punish the tardy would-be

intervenor, but rather a guard against prejudicing the original parties by the failure to apply

sooner.” Utah Ass’n of Counties, 255 F.3d at 1250. Thus, “[f]ederal courts should allow

intervention ‘where no one would be hurt and greater justice could be attained.’” Id.

(quoting Sierra Club, 18 F.3d at 1205).

       Here, the need to intervene did not arise until recently when Movants executed a

binding settlement term sheet with Nelnet, OSLA, and EdFinancial. Intervention is

necessary to protect the Class (of which the Carr plaintiffs are members) and the benefit

secured by the settlement, as the Carr plaintiffs have made clear that they seek to use this

tagalong action as a vehicle to block or otherwise interfere with Movants’ resolution of

claims arising from the Data Breach. Because Movants have sought to intervene just one

day after executing a binding settlement term sheet, their Motion is timely. See In re Cmty.

Bank of N. Virginia, 418 F.3d 277, 314 (3d Cir. 2005) (finding motion to intervene was

timely when filed two months after being provided notice of settlement).

       Regardless, even if this Motion could somehow be construed as untimely (which it

is not) there is no prejudice to the Carr plaintiffs, who, as settlement Class members, are

free to opt out of the settlement if they are somehow dissatisfied and pursue their own

individual claims. See In re Syngenta Ag Mir 162 Corn Litig., No. 14-md-2591-JWL, 2018

WL 1726345, at *5 (D. Kan. Apr. 10, 2018) (“Finally, in the end, there can be no prejudice,

as any dissatisfied class member will be able to opt out of the settlement class.”). The

timeliness requirement is, therefore, satisfied.

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       B.     Movants Have Important Interests Related to the Subject Matter of the
              Case.

       As to the second prong, Movants have important interests related to the subject

matter of the Carr action. “Whether [a would-be intervenor] has an interest sufficient to

warrant intervention as a matter of right is a highly fact-specific determination,” and “the

‘interest’ test is primarily a practical guide to disposing of lawsuits by involving as many

apparently concerned persons as is compatible with efficiency and due process[.]” Coal. of

Arizona/New Mexico Ctys., 100 F.3d at 841; see also National Farm Lines v. Interstate

Commerce Comm’n, 564 F.2d 381, 384 (10th Cir. 1977) (“Our court has tended to follow

a somewhat liberal line in allowing intervention.”). Importantly, the interest of the

intervenor “is not measured by the particular issue before the court but is instead measured

by whether the interest the intervenor claims is related to the property that is the subject of

the action.” See Utah Ass’n of Counties, 255 F.3d at 1252 (emphasis in original).

       Here, Movants meet this requirement as they are already court-appointed

representatives of a nationwide class that subsumes the Class (and claims) alleged in the

Carr action. See In re Cmty. Bank of N. Virginia, 418 F.3d at 314 (explaining an interest in

the subject matter “[is] satisfied by the very nature of Rule 23 representative litigation.”);

Beer v. XTO Energy, Inc., No. 07-cv-798-L, 2010 WL 2773311, at *5 (W.D. Okla. July 13,

2010) (“As to the second factor, Intervenors clearly have an interest relating to the property

or transaction that is the subject of the action as they are members of the class previously

certified by the court.”). In particular, Movant Mary Traynor is not only one of the settling

parties but an absent Class member of the proposed Carr Class because her loans were


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serviced by OLSA.5 Thus, Movants have an interest in the Carr action sufficient to warrant

intervention.

         C.     The Disposition of the Carr Action Could Impair Movants’ Interests.

         To satisfy the third prong, an “intervenor must show only that impairment of its

substantial legal interest is possible if intervention is denied. This burden is minimal.” Beer,

2010 WL 277311, at *6 (internal citations and quotations omitted) (emphasis added). In

evaluating this prong, the Court “is not restricted to a rigid res judicata test[,]” but rather

may consider “any significant legal effect in the [would-be intervenor’s] interest[.]” See

Coal. of Arizona/New Mexico Counties, 100 F.3d at 844 (citing Sierra Club v. Espy, 18

F.3d at 120)). In the class action context, the third prong of the Rule 24(a)(2) inquiry is,

like the second prong, satisfied “by the very nature of Rule 23 representative litigation.”

See, e.g., In re Cmty. Bank of N. Va., 418 F.3d 277, 314 (3d Cir. 2005).

         Here, the continuation of the Carr action while a global settlement that would

release all claims is pending not only presents a risk of inconsistent results but also poses

a direct threat to the settling parties’ legal interests in resolving their claims. This threat is

especially concrete given the Carr plaintiffs have already sought to interfere with these

settlement efforts and insert themselves as Class counsel in the In re Nelnet action. Courts

routinely stay duplicative, parallel class actions pending a settlement that would resolve all

claims arising from the same set of facts to avoid unnecessary litigation, inconsistent




5
    See ECF No. 51 at ¶¶ 344-351, Ex. 1 to Levis Declaration.
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results, and other issues. See Section III, below. The same considerations support granting

Movants’ motion here.

         D.      Movants’ Interests Are Not Adequately Represented.

         As to the fourth prong, Movants’ interests are not adequately represented by the

Carr plaintiffs, who are exclusively OSLA borrowers. “Although an applicant for

intervention as of right bears the burden of showing inadequate representation, that burden

is the ‘minimal’ one of showing that representation ‘may’ be inadequate.” Utah Ass’n of

Counties, 255 F.3d at 1254 (quoting Sanguine, 736 F.2d at 1419)). The possibility that the

interests of the applicant and the parties diverge “need not be great” in order to satisfy this

minimal burden. Id. (quoting Natural Res. Def. Council v. United States Nuclear Reg.

Comm’n, 578 F.2d 1341, 1346 (10th Cir. 1978)). Moreover, as the Tenth Circuit has

explained:

         If (an applicant’s) interest is similar to, but not identical with, that of one of
         the parties, a discriminating judgment is required on the circumstances of the
         particular case, but he ordinarily should be allowed to intervene unless it is
         clear that the party will provide adequate representation for the absentee.

Nat. Res. Def. Council, Inc, 578 F.2d at 1346 (quoting 7A C. Wright & A. Miller, Federal

Practice & Procedure, § 1909, at 524 (1972)) (emphasis added).

         Here, while Movants subsume the Carr plaintiffs’ claims, the reverse is not true.

Movants are a group of 26 individuals, from 17 states6 that represent all of those affected




6
    See ECF No. 51 at ¶¶ 118-352, Ex. 1 to Levis Decl.
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by the Data Breach, whether EdFinancial borrowers (approximately 90%7 of those

affected) or OSLA borrowers (approximately 10% of those affected). The three Carr

plaintiffs, by contrast, are from three states, do not name EdFinancial as a party, and only

seek relief for OSLA borrowers—a subset of Movants and fraction of the entire In re Nelnet

Class. As such, there is little reason to expect that Movants’ and the Carr plaintiffs’

interests, objectives, and litigation strategies will coincide at every stage of litigation,8 and

there is no reason to expect that Movants will be adequately represented by the Carr


7
 See, e.g., Millions Affected by Oklahoma Student Loan Authority Data Breach Leak,
NEWS ON 6 (Sept. 2, 2022, 5:10 PM),
https://www.newson6.com/story/630e8c16ac86df072656347a/oklahoma-city-bombing-
victims#:~:text=Forensics%20identified%20approximately%202.5%20million,250%2C0
00%20are%20assigned%20to%20OSLA:

       An attorney for OSLA emailed News on 6 the following:
       Forensics identified approximately 2.5 million borrowers with student loans
       serviced by EdFinancial and OSLA that were affected by this incident.
       Approximately 2.2 million affected borrowers are assigned to EdFinancial,
       while approximately 250,000 are assigned to OSLA. Of the accounts serviced
       by OSLA, 1,477 borrowers live in Oklahoma.
8
  Compare the Carr plaintiffs’ eight causes of action at ¶¶ 146-229, ECF No. 22 ((1)
negligence (against Nelnet); (2) negligence per se (against Nelnet); (3) negligence (against
OLSA); (4) negligence per se (against OSLA); (5) breach of third-party beneficiary
contract (against Nelnet); (6) declaratory and injunctive relief (against Nelnet); (7)
negligent training, hiring, and supervision (against OSLA); and (8) invasion of privacy –
intrusion upon seclusion & unreasonable publicity (against Nelnet and OSLA), with
Movants’ thirty-three causes of action at ¶¶ 397-751, ECF No. 51 at Ex. 1 to Levis Decl.
((1) negligence; (2) negligence per se; (3) breach of implied contract; (4) unjust
enrichment; (5) breach of confidence; (6) invasion of privacy – intrusion upon seclusion;
(7) AZ CFA; (8) CCPA; (9) CA CRA; (10) CA UCL; (11) CLRA; (12) CO SBNA; (13) CO
CPA; (14) FDUTPA; (15) IL UDTPA; (16) IN DCSA; (17) MCPA; (18) MITPA; (19) MI
CPA; (20) NM UPA; (21) NY GBL; (22) PA UTPCPL; (23) SC DBSA; (24) SC UTPA;
(25) TX DTP-CPA; (26) UCSPA; (27) WI NUAPIA; (28) WI DTPA; (29) VPIBA; (30)
VCPA; (31) MN CFA; (32) MN UDTPA; and (33) Declaratory and Injunctive Relief under
the Declaratory Judgment Act).
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plaintiffs’ counsel. Indeed, the Carr plaintiffs and their counsel have been openly hostile

to Movants, seeking to avoid inclusion in the consolidated action by filing an un-

transferable case in state court, moving to intervene in the In re Nelnet action to block

settlement talks, and in the alternative, inserting themselves at the head of the In re Nelnet

action, rejecting Movants’ reasonable proposal to consolidate the actions and jointly

prosecute the case. There is, as a result, no reason to believe the Carr plaintiffs or their

counsel would adequately represent Movants’ interests in this case. See, e.g., Barnes v. Sec.

Life of Denver Ins. Co., 945 F.3d 1112, 1125 (10th Cir. 2019) (“SLD’s counsel cannot be

expected to act in the best interests of both SLD and Jackson. Rather, SLD’s counsel will,

and should act in the best interests of its client, SLD . . . . We therefore conclude that

Jackson satisfies the ‘minimal’ burden of establishing a ‘possibility’ that its interests will

not be adequately represented by SLD.”); Nat’l Sur. Corp. v. Bozeman, No. 20-cv-1187

(WJM) (GPG, 2020 WL 11038521, at *2 (D. Colo. Nov. 2, 2020) (“State Farm notes that

National Surety has incurred different damages in connection with a different party than

relevant to State Farm. Thus, State Farm must establish its own damages and cannot rely

on National Surety to do so, as National Surety has no incentive to protect State Farm's

interests.”).

II.    MOVANTS ALSO SATISFY THE REQUIREMENTS FOR PERMISSIVE
       INTERVENTION UNDER FED. R. CIV. P. 24(b)(1)(B).

       Movants also satisfy the requirements for permissive intervention pursuant to Fed.

R. Civ. P. 24(b)(1)(B). Rule 24(b)(1)(B) permits intervention by a movant that “has a claim

or defense that shares with the main action a common question of law or fact.” Fed. R. Civ.


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P. 24(b)(1)(B); see also Arney v. Finney, 967 F.2d 418, 421 (10th Cir. 1992) (“Permissive

intervention is a matter within the sound discretion of the district court.”) (internal citations

and quotations omitted). Rule 24(b)(3) further provides that, “in exercising its discretion,

the court must consider whether the intervention will unduly delay or prejudice the

adjudication of the original parties’ rights.” Fed. R. Civ. P. 24(b)(3).

       There is no doubt that Movants’ claims share common questions of law and fact

with the Carr plaintiffs’ claims in this case, given that the Carr action is a tagalong action

and purports to represent a subset of the Nationwide Class alleged in In re Nelnet and

covered by the Settlement. Moreover, as described herein, because the Carr plaintiffs are

members of the settlement Class, there is no prejudice to them if intervention is allowed,

since they remain free to opt out of the settlement if they wish to pursue their individual

claims. While Movants’ intervention and the settlement process will benefit all of the

parties involved, the continuation of simultaneous litigation of parallel claims would

needly burden the parties and the Court with unnecessary, duplicative litigation.

III.   THE CARR ACTION SHOULD BE STAYED PENDING FINAL APPROVAL
       OF THE SETTLEMENT IN THE NEBRASKA ACTION.

       Finally, Movants also request that this Court stay the Carr action until final approval

of the Settlement. This Court possesses the inherent authority to control its docket, which

includes the power to stay cases in the interest of judicial economy. Lindley v. Life Invs.

Ins. Co. of Am., No. 08-cv-0379 (CVE) (PJC), 2009 WL 3296498, at *3 (N.D. Okla. Oct.

9, 2009) (citing United Steelworkers of Am. V. Oregon Steel Mills, Inc., 322 F.3d 1222,




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1227 (10th Cir. 2003)); see also Landis, et al. v. North American Co., 299 U.S. 248, 254,

57 S.Ct. 163, 81 L.Ed. 153 (1936).

       Courts routinely exercise their power to grant stays when a pending nationwide

settlement could impact (or resolve) the claims in the case before them. See Quint v. Vail

Resorts, Inc., No. 20-cv-03569 (DDD) (NRN), 2023 WL 4410458, at *4 (D. Colo. June 16,

2023) (“courts routinely exercise the discretion to grant stays when a pending nationwide

settlement could impact the claims in the case before them.”); Ali v. Wells Fargo Bank,

N.A., No. CIV-13-876-D, 2014 WL 819385, at *3 (W.D. Okla. Mar. 3, 2014) (granting

motion to stay proceedings in a parallel case pending conclusion of settlement

proceedings); Lindley, 2009 WL 3296498, at *4 (granting motion to stay proceedings in a

parallel case pending a fairness hearing of a possible nationwide class settlement); Jaffe v.

Morgan Stanley DW, Inc., 2007 WL 163196, at *2 (N.D. Cal. Jan. 19, 2007) (granting two

month stay to allow “advanced” settlement negotiations to play out in another case).

       Here, the requested stay will allow Movants and Nelnet, OSLA, and EdFinancial to

seek preliminary and final approval of an objectively beneficial global settlement that will

resolve the claims of all Class members in all 24 related cases without delay or unnecessary

complication. Not only will this benefit all parties, but it will avoid needlessly expending

time and resources to continue with the parallel, duplicative litigation. Lindley, 2009 WL

3296498, at *3 (granting motion to stay putative class action where stay would “preserve

defendant’s resources by preventing duplicative and expensive class discovery” and

“conserve the Court’s resources by deferring consideration of plaintiff’s request for class

certification until the parties are in a better position to brief the issue”); Annunziato v.

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eMachines Inc., 2006 WL 5014567, at *5 (C.D. Cal. July 24, 2006) (granting motion to

stay putative class action where parallel state court case had settled because stay could save

defendants from “hundreds of hours spent on discovery and briefing”); Advanced Internet

Techs., Inc. v. Google, Inc., No. C-05-02579 (RMW), 2006 WL 889477, *1–*2 (N.D. Cal.

Apr. 5, 2006) (granting stay where settlement in parallel action would have a “material

impact” on the case, and where proceeding with parallel litigation would be “a waste of

judicial resources”).

       Moreover, staying these proceedings presents no “possibility” that it “will work

damage to someone else[.]” See Carr action, ECF No. 41 at 6 (quoting Landis, 299 U.S. at

255) (emphasis added). Quite the opposite, staying these proceedings will allow all Class

members to participate in the global settlement or, if they wish, to exercise their right to

opt out. See In re JPMorgan Chase LPI Hazard Litig., No. C-11-03058 JCS, 2013 WL

3829271, at *4 (N.D. Cal. July 23, 2013) (finding no fair possibility that damage would

result from stay of putative class action pending settlement of another case); see also Elec.

Payment Sys., LLC v. Elec. Payment Sols. of Am., Inc., No. 14-cv-2624 (WYD) (MEH),

2016 WL 11533348, at *2 (D. Colo. Aug. 11, 2016) (plaintiffs were not required to

demonstrate a clear case of hardship where administrative closure was expected to promote

judicial economy). Should the Carr plaintiffs have any unique concerns they wish to raise

in a judicial forum, they can do so at the settlement fairness hearing. Ali, 2014 WL 819385,

at *1 (explaining a stay presents no prejudice because the other plaintiffs “can pursue any

concerns about the potential fairness of the proposed settlement [] during the approval

process.”); Branca v. Iovate Health Scis. USA, Inc., No. 12-cv-01686 (LAB) (WMC), 2013

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WL 1344306, at *1–*2 (S.D. Cal. Apr. 2, 2013) (imposing a stay where “the real fight [was]

for a class action between two warning plaintiffs’ firms,” reasoning that “if there’s

something procedurally or substantively unsavory about the [] settlement . . . [the other

judge] should be the judge to say so”). And in the event that the Settlement is not approved,

the Carr plaintiffs have no risk as they can move to lift the stay and resume prosecution of

this action. See, e.g., RC2 Corp. Toy Lead Paint Prods. Liability Litig., No. 07-cv-7184,

2008 WL 548772, at *5 (N.D. Ill. Feb. 20, 2008), as amended (Feb. 28, 2008) (noting that

plaintiffs would be able to proceed with the stayed action in the event the settlement

warranting the stay is not approved in the other court).

                                     CONCLUSION

       For the foregoing reasons, Movants respectfully request that the Court grant their

motion to intervene and issue a stay of all proceedings and deadlines pending a final order

approving the Settlement.


Dated: June 12, 2024                              Respectfully submitted,

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                            CERTIFICATE OF SERVICE

      I hereby certify that on June 12, 2024, a copy of this Motion to Intervene and Stay

Pending Final Approval of Settlement in Related Class Action and Memorandum in

Support was filed electronically with the United States District Court for the District of

Western Oklahoma and served on all counsel of record through the CM/ECF system.



                                                       /s/ Anthony M. Christina
                                                       Anthony M. Christina




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